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            EXHIBIT E




            EXHIBIT E
Summary Cash Flow Statement and Summary Balance Sheet
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EXHIBIT E

                              SEC v. J&J Consulting Services, Inc. et al.
                                  Summary Cash Flow Statement
                                        December 31, 2023

                       Cash at Beginning of Period     $                       64,940,644

                                      Cash Inflows
                          Personal Asset Liquidation   $                          583,100
                           Real Property Liquidation   $                          348,338
                        Other Litigation/Settlements   $                             5,467
                                     Interest Income   $                          200,182
                 Returned Funds - Maintain Property $                                4,429
                                Total Cash Inflows     $                        1,141,517

                                     Cash Outflows
                                       Receiver Fees   $                          (392,838)
                                  Receiver Expenses    $                               -
                          Attorney for Receiver Fees   $                           (90,447)
                     Attorney for Receiver Expenses    $                           (76,841)
                   Costs to Secure/Maintain Property   $                           (40,375)
                        Other Professional Expenses    $                            (2,024)
                                     Priority Claims   $                        (2,833,079)
                                     Other Expenses    $                               -
                               Total Cash Outflows     $                        (3,435,604)


                             Cash at End of Period     $                       62,646,558

                              SEC v. J&J Consulting Services, Inc. et al.
                                      Summary Balance Sheet
                                        December 31, 2023

                                              Assets
                                   EWBK Accounts $                             62,646,558
                              Marketable Securities* $                          1,162,996
                                     Real Property** $                         18,563,393
                                 Personal Property** $                            513,640
                        Private Equity Investments** $                          2,790,625
                                Existing Litigation** $                         5,051,589
                             Third Party Litigation** $                       100,000,000
                                        Total Assets $                        190,728,801

                                         Liabilities
                    Accrued Professional Holdbacks     $                        1,048,659
               Estimated Net Cash Investor Claims**
                                   Total Liabilities   $                        1,048,659

                                             Equity
                                  Retained Earnings    $                      189,680,141
                                       Total Equity    $                      189,680,141


                                             *Last available market value.
                              ** Accounts are estimated values and are subject to change as
                              more information is available and the Receiver completes his
                                                  forensic accounting.
